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 8                             UNITED STATES DISTRICT COURT
 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                    WESTERN DIVISION
11 JENI PEARSONS, et al.,                             No. CV 23-07952-RGK-MAR
12               Plaintiffs,                          [PROPOSED] ORDER GRANTING
                                                      LYNNE K. ZELLHART’S MOTION
13                      v.                            TO DISMISS
14 UNITED STATES OF AMERICA, et
   al.,
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            Defendants.
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           The Motion to Dismiss (“Motion”) filed by defendant Lynne K. Zellhart, having
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     come on for hearing, and the Court having considered the Motion, the Opposition, and
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     the Reply, the evidence presented, and oral argument thereon,
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           THE COURT HEREBY FINDS THAT:
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           1. The Motion is Granted.
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           2. Jeni Pearson and Michael Storc’s (“Plaintiffs’”) claims against Agent Zellhart,
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              Counts VI, VII, VIII, IX, X, and XI are barred for the following reasons:
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                 a. Counts VI (conversion and trespass to chattels), VII (breach of
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                     bailment), VIII (negligence), and IX (Bane Act) are dismissed for failure
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                     to state a claim and lack of jurisdiction in light of the United States’
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                     substitution for Agent Zellhart pursuant to 28 U.S.C. § 2679(d)(2).
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 1             b. Counts IX and X, Plaintiffs’ Bivens claims against Agent Zellhart, are
 2                dismissed for failure to state a claim because they arise in a new Bivens
 3                context and multiple special factors counsel hesitation against extending
 4                implied individual tort liability to this new context. See Egbert v. Boule,
 5                596 U.S. 482 (2022). Even in a “conventional” Fourth Amendment case,
 6                with “almost parallel” allegations to Bivens itself, the Supreme Court
 7                now instructs courts to apply a special factors analysis, asking whether
 8                “the Judiciary is at least arguably less equipped than Congress to weight
 9                the costs and benefits of allowing a damages action to proceed.” Id. at
10                492. Applying that analysis “in most every case,” the Supreme Court
11                stressed, leads to the same result: “no Bivens action may lie.” Id. Egbert
12                was recently reinforced in this Circuit in Mejia v. Miller, 61 F.4th 663,
13                669 (9th Cir. 2023) (“Under Egbert, rarely if ever is the Judiciary
14                equally suited as Congress to extend Bivens even modestly.”). As the
15                Ninth Circuit recently noted, “Essentially then, future extensions of
16                Bivens are dead on arrival.” Harper v. Need, 71 F.4th 1181, 1187 (9th
17                Cir. 2023).
18                   i. Plaintiffs’ claims against Agent Zellhart present a new context
19                      different from Bivens. Plaintiffs’ claims do not concern the arrest
20                      of a person, but a property interest in a safe deposit box in a strip
21                      mall and the mechanism of injury Plaintiffs’ allege is a large scale
22                      government operation as opposed to the acts of a single agent.
23                   ii. Special factors counsel against the implication of a Bivens
24                      remedy.
25                          1. Plaintiffs have alternative procedures for relief, such as the
26                              FTCA or filing a report with the Office of Inspector
27                              General. See Vega v. United States, 881 F.3d 1146, 1154
28                              (9th Cir. 2018); Egbert, 596 U.S. at 497-98 (Border Patrol’s
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 1                             investigation and grievance procedures provided alternative
 2                             remedy).
 3                          2. Bivens precludes holding Agent Zellhart responsible for
 4                             FBI policy and Plaintiffs’ claims seek to change FBI policy
 5                             to what they are demanding. Ziglar v. Abbasi, 137 S. Ct.
 6                             1843, 1860 (2017).
 7                          3. Plaintiffs’ Bivens claims would cause disruptive intrusion
 8                             into the Executive Branch. Abbasi, 137 S. Ct. at 1861.
 9                          4. Existing legislation suggests that the absence of a monetary
10                             remedy in this circumstance is more than inadvertent. Id. at
11                             1862.
12             c. In the alternative, Counts IX and X, Plaintiffs’ Bivens claims against
13                Agent Zellhart, are dismissed for failure to state a claim as Agent
14                Zellhart is entitled to qualified immunity.
15                   i. Plaintiffs fail to allege a claim for judicial deception against Agent
16                      Zellhart. The omission of the Government’s forfeiture
17                      preparations did not create a false impression in light of the scope
18                      of criminality detailed in the affidavit.
19                   ii. It is not clearly established that the inventory search was
20                      unconstitutional. [M]otivation [] cannot reasonably disqualify an
21                      inventory search that is performed under standardized procedures
22                      for legitimate custodial purposes.” United States v. Lopez, 547
23                      F.3d 364, 372 (2d Cir. 2008) (citations omitted).
24             d. Counts IX and X, Plaintiffs’ Bivens claims against Agent Zellhart, are
25                dismissed for failure to state a claim as they are barred by the two-year
26                Bivens statute of limitations. Green v. Tennessee Valley Auth., 2006 WL
27                8439729 at *1 (C.D. Cal. Apr. 21, 2006) (“The Ninth Circuit applies the
28                state statute of limitations for personal injury to Bivens claims. In
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 1                  California the statute of limitations for personal injury is currently two
 2                  years.”). All of the conduct concerning Agent Zellhart that Plaintiffs
 3                  allege occurred more than two years prior to the filing of the Complaint.
 4               e. Count XI, entitled “as-applied deprivation of property without due
 5                  process of law under the Fifth Amendment Due Process Clause,” is
 6                  dismissed because it fails to state a claim. If interpreted as asserting a
 7                  constitutional violation, it is dismissed for failure to state a claim for the
 8                  same reasons Plaintiffs’ Bivens claims must be dismissed.
 9         IT IS HEREBY ORDERED that the Motion is granted and that Plaintiffs’ claims
10   against Agent Zellhart are dismissed without leave to amend and Agent Zellhart is
11   dismissed from the First Amended Complaint.
12         IT IS SO ORDERED.
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14   Dated: __________________                   ____________________________________
15                                               THE HONORABLE R. GARY KLAUSNER
                                                 United States District Judge
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